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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALBRINA ANDERSON,
24-ev-3530 (UGK) (GS)
Plaintiff,
ORDER

- against —
MARTIN O'MALLEY,

Defendant.

JOHN G, KOELTL, District Judge:

By Order dated May 10, 2024, the Court referred this case to
Magistrate Judge Gary Stein.

To conserve resources, to promote judicial efficiency, and in
an effort to achieve a faster disposition of this matter, it is
hereby ORDERED that the parties must discuss whether they are
willing to consent, under 28 U.S.C. § 636(c), to conducting all
further proceedings before the assigned Magistrate Judge.

If both parties consent to proceed before the Magistrate
Judge, counsel for the defendant should file a letter with the
Court, with an attached fully executed Notice, Consent, and
Reference of a Civil Action to a Magistrate Judge form, the blank
form for which is attached to this Order (and also available at:
https: //www.nysd.uscourts.gov/forms/consent-proceed-us-magistrate-
judge). If the Court approves that form, all further proceedings
will then be conducted before the assigned Magistrate Judge rather
than before this Court. Any appeal would be taken directly to the

United States Court of Appeals for the Second Circuit.

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If either party does not consent to conducting all further
proceedings before the assigned Magistrate Judge, defendant’s
counsel shall file a letter advising the Court that the parties do

not consent, but without disclosing the identity of the party of

parties who do not consent. The parties are free to withhold

consent without negative consequences.

SO ORDERED.

Dated: New York, New York

May 10, 2024 “Ae Lobe

—-" John G. Koelti
United States District Judge

